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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

HEATH WHITT, #222 052,                             )
                                                   )
             Plaintiff,                            )
                                                   )
     v.                                            )      CIVIL ACTION NO. 2:18-CV-851-MHT
                                                   )
WARDEN MILLS, et al.,                              )
                                                   )
             Defendants.                           )


                                              ORDER

          For good cause, it is

          ORDERED that are GRANTED an extension from November 16, 2018, to and including

January 4, 2019, to file their answer and written report to Plaintiff’s complaint. 1

          Done, this 30th day of November 2018.


                                        /s/ Charles S. Coody
                                       UNITED STATES MAGISTRATE JUDGE




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  References to an “amended” complaint made in the court’s order of procedure (Doc. 4) were
inadvertent. This matter is before the court on the complaint filed October 1, 2018. Doc. 1.
